Case 4:17-cr-Q0066-JST Document 1 Filed 02/03/17 Page 1of3

AO 257 (Rev. 6/78)

 

|

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

By: [_] COMPLAINT INFORMATION INDICTMENT

_____ OFFENSE CHARGED LL] SUPERSEDING

 

18 U.S.C. § 664 - Theft from an Employee Benefit Plan Petty

Minor

Misde-
meanor

OOO

Felony

[x]

PENALTY: Imprisonment: 5 years
Fine: $250,000
Supervised Release: 3 years

$100 special assessment

Name of District Court, and/or Judge/Magistrate Location
NORTHERN DISTRICT OF CALIFORNIA

OAKLAND DIVISION

 

 

 

— DEFENDANT - U.S )
ey ot IN
> LISA ROSSI
DISTRICT COURT NUMBER
R17-O00066
WNL (-QOQU0G IST

A

 

DEFENDANT

 

PROCEEDING
Name of Complaintant Agency, or Person (& Title, if any)

Dept of Labor

 

person is awaiting trial in another Federal or State Court,
L] give name of court

 

this person/proceeding is transferred from another district
L per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
O charges previously dismissed

which were dismissed on motion SHOW

ag DOCKET NO.
L] U.S. ATTORNEY C] DEFENSE \

this prosecution relates to a
| pending case involving this same

defendant MAGISTRATE

prior proceedings or appearance(s)
before U.S. Magistrate regarding this
defendant were recorded under

 

 

 

\ CASE NO.
Name and Office of Person

Furnishing Information on this form BRIAN J. STRETCH

 

[x] U.S. Attorney [] Other U.S. Agency

Name of Assistant U.S.

Attorney (if assigned) MAUREEN BESSETTE

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) If not detained give date any prior
summons was served on above charges

2) [_] !s a Fugitive

3) C] Is on Bail or Release from (show District)

 

IS IN CUSTODY
4) [[] On this charge

5) [-] On another conviction

\ [| Federal L] State

6) [_] Awaiting trial on other charges

If answer to (6) is "Yes", show name of institution

If "Yes"

} give date
filed

Month/Day/Year

 

Has detainer |_] Yes
been filed? C No

DATE OF >
ARREST

 

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

 

 

 

 

 

PROCESS:
[_] SUMMONS NO PROCESS* [_] WARRANT

If Summons, complete following:
[_] Arraignment [_] Initial Appearance

Defendant Address:

 

Comments:

ADDITIONAL INFORMATION OR COMMENTS

Date/Time:

[| This report amends AO 257 previously submitted

 

Bail Amount:

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

 
10

12
13
14

16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 4:17-cr-00066-JST Document1 Filed 02/03/17 Page 2 of 3

BRIAN J. STRETCH (CABN 163973)
United States Attorney

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION

Rt7-00066 JST
nid R Lf(~UUUSO

UNITED STATES OF AMERICA, )
)
Plaintiff, ) VIOLATION: 18 U.S.C. § 664 — Theft
Wi ) From an Employee Benefit Plan
)
LISA ROSSI, )
) OAKLAND VENUE
Defendant. )
)
)

 

INFORMATION
The United States Attorney charges:
Introductory Allegations

At all times relevant to this Information:

1. LISA ROSSI (“ROSSI”) worked at E-D Coat, Inc. (“E-D Coat’), a metal refinishing
facility located at 715 4" Street, Oakland, California. In 1976, E-D Coat established an employee
pension benefit plan, “The E-D Coat, Inc. Profit Sharing Plan” (“the Plan’), to provide retirement
benefits to certain eligible employees. The Plan was subject to Title I of the Employee Retirement
Income Security Act of 1974 (“ERISA”) and was funded by E-D Coat’s discretionary profit sharing
contributions. E-D Coat was entitled to a tax deduction for the money it placed in the Plan.

2. From at least 2008, LISA ROSSI had fiduciary responsibilities over the Plan and was a

 
10
11
12
13
14
15
16
17
18
19
20
21
22
2
24
25
26
2F
28

 

 

Case 4:17-cr-O0Q66-JST Document1 Filed 02/03/17 Page 3 of 3

signatory over its bank accounts at Bank of America (“BOA”) (accounts ending -7862 and -1729).

COUNT ONE: (18 U.S.C. § 664 — Theft From an Employee Benefit Plan)

3. Paragraphs 1| and 2 are realleged and incorporated by reference.

4, Between May 2011 and February 7, 2014, in the Northern District of California, the
defendant,

LISA ROSSI,

did unlawfully and willfully embezzle, steal, and convert to her own use and the use of another monies,
funds, securities, premiums, credits, property, and other assets of the Plan, an employee pension benefit
plan subject to ERISA, in that the defendant unlawfully and willfully caused transfers of approximately
$66,049.00 from the Plan’s Bank of America account ending 7862 for the benefit of others knowing that
these funds were owed to specific Plan participants, all in violation of Title 18, United States Code,

Section 664.

DATED: February 3, 2017 BRIAN J. STRETCH
United States Attorney

BARBARA J. VALVIERE
Chief, Criminal Division

(Approved as to form:

 

 
